     Case 1:17-cr-00047-JRH-BKE Document 178 Filed 04/27/18 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED STATES OF AMERICA

V.                                                           CR117-047

OCTAVIAHALL




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      A. Brooke Jennings, having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT A. Brooke Jennings be granted leave of

absence for the following periods: April 30, 2018; May 30,2018 through May 31,

2018; June 4, 2018 through June 8, 2018; and Jime 18, 2018 through June

25,2018; and September 6,2018 through September 7,2018.

      This .^Z?*day of April, 2018.


                                                     HALL,'CHIEF JUDGE
                                         UNITE^^TATES DISTRICT COURT
                                        southern district of GEORGIA
